                                  COURT OF APPEALS
                               EIGHTH DISTRICT OF TEXAS
                                    EL PASO, TEXAS

                                              §
 IN THE MATTER OF E. J. E.,                                   No. 08-16-00101-CV
 A JUVENILE,                                  §
                                                                Appeal from the
                            Appellant.         §
                                                           65th Judicial District Court
                                              §
                                                            of El Paso County, Texas
                                               §
                                                                 (TC# 1400465)
                                               §

                                           §
                                         ORDER

       The Court GRANTS the Appellant’s third motion for extension of time to file the brief
                                           '
until December 10, 2016. NO FURTHER MOTIONS FOR EXTENSION OF TIME TO FILE
                                            '
THE APPELLANT’S BRIEF WILL BE CONSIDERED BY THIS COURT.

       It is further ORDERED that the Hon. Jaime E. Gadara, the Appellant’s Attorney, prepare

the Appellant’s brief and forward the same to this Court on or before December 10, 2016.

       IT IS SO ORDERED this 7th day of November, 2016.



                                            PER CURIAM



Before McClure, C.J., Rodriguez and Hughes, JJ.
